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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------                   X
MICHAEL MULGREW, et al.,                                 :
                                                         :
                                           Plaintiffs,   :
                                                         :
                           - against -                   :            1:24-cv-01644 (LJL)
                                                         :            1:23-cv-10365 (LJL)
UNITED STATES DEPARTMENT OF                              :
TRANSPORTATION, et al.,                                  :
                                                         :        NOTICE OF MOTION
                                           Defendants.   :
                                                         :
--------------------------------------                   X

ELIZABETH CHAN, et al.,                                  :
                                                         :
                                           Plaintiffs,   :
                                                         :
                           - against -                   :
                                                         :
UNITED STATES DEPARTMENT OF                              :
TRANSPORTATION, et al.,                                  :
                                                         :
                                           Defendants.   :
                                                         :
--------------------------------------                   X

          PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law dated

November 29, 2024, Plaintiffs’ Memoranda of Law in Opposition to Defendants’ Omnibus Motion

to Dismiss, dated November 25, 2024,1 and the previously-filed motion and memorandum of law

dated May 30, 2024 of the Plaintiff Trucking Association of New York (“TANY”) in Truckers

Association of New York v. Metropolitan Transportation Authority, et. al, 24-cv-4111 (S.D.N.Y.)2

in support of a preliminary injunction, and upon all prior pleading and proceedings herein,

Plaintiffs will move this Court on December 20, 2024 before the Honorable Louis J. Liman, United

States District Judge, at the United States Courthouse for the Southern District of New York,

located at 500 Pearl Street, for an order pursuant to Rule 65(a) of the Federal Rules of Civil


1
    ECF Dkt. No. 130 (Chan) and No. 118 (Mulgrew)
2
    ECF Dkt. No. 4.
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Procedure, preliminarily enjoining Defendants from implementing the Central Business Tolling

Program, and for such other and further relief as this Court deems proper.

       PLEASE TAKE FURTHER NOTICE that per the parties’ schedule, “So-Ordered” by the

Court on November 27, 2024 (Dkt. Nos. 120, 132), opposition to the motion, if any, is due no later

than December 2, 2024; and reply, if any, is due no later than December 6, 2024, unless otherwise

agreed to by the parties or ordered by the Court.

 Dated: New York, New York                    STEPTOE LLP
        November 29, 2024
                                              By:    /s/ Alan M. Klinger
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 Of Counsel:                                                         -and-

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                                              and Individual Plaintiffs

                                                     -and-

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